Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 1 of 24 PagelD #: 623

EXHIBIT
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Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 2 of 24 PagelD #: 624

#q SPILMAN THOMAS & BATTLE ruc

ATTORNEYS AT LAW ,
Direct Dial: 304.340.3877

E-mail: kcarr@spilmanlaw.com

November 19, 2009

Via Facsimile 412-391-1789 and
Overnight Mail/Federal Express

John J. Morgan, Esquire
1034 Fifth Avenue, Suite 300
Pittsburgh, Pennsylvania 15219

Re: Jeffrey Varner Arbitration Matter
FMC Case No. 090619-03029-1

Dear Mr. Morgan:

Thank you on behalf of both parties for agreeing to mediate this matter. I have enclosed
the original and one copy of “Mylan Pharmaceuticals, Inc.’s Motion to Reopen the Record and
Accept Evidence and/or to Take Arbitral Notice of Evidence” with attachments. It is my
understanding that you will send the enclosed copy of the same to:

Emest B. Orsatti, Esquire
Jubelirer, Pass & Intrieri, PC
219 Fort Pitt Boulevard,
Pittsburgh, PA 15222.

I appreciate your assistance in this matter. If you have any questions or require any
additional information, please do not hesitate contact me.

 

KLCy/rece_ 1882610
Enclosures
cc: Emest B. Orsatti, Esquire (w/o Enclosures)

Spilman Center | 300 Kanawha Bovievard, East } Post Office Box 273 | Charleston, West Virginia 25321-0273
wwwspilmanlaw.com | 304.340.3800 | 304.340.3801 fax

West Virginia North Carolina Pennsylvania Virginia
Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 3 of 24 PagelD #: 625

In the matter of the Arbitration between
Mylan Pharmaceuticals, Inc. and
United Steelworkers Union—
USW, Local 8-957 - AFL - CIO

MYLAN PHARMACEUTICALS, INC.’s MOTION TO REOPEN THE RECORD AND
ACCEPT EVIDENCE AND/OR TO TAKE ARBITRAL NOTICE OF EVIDENCE

Mylan Pharmaceuticals, Inc. (“Mylan”) respectfully moves this Arbitrator to Reopen the |
Record in this matter and accept evidence relating to recent and relevant misconduct by the
grievant Jeffrey Varner (“Mr. Varner”). Succinctly, since the hearing, Mr. Varner has again
been found guilty of contempt for making threats to his ex-wife (directly and through his
children). The Guardian ad Litem for Mr. Varner’s minor children has filed a motion for
emergency relief based on Mr. Varner acting in a threatening manner and making more threats of |
violence, and the judge has granted the Guardian ad Litem’s motion. On November 16, 2009,
the Court found that “there is probable cause that the existing conditions will result in immediate
and irreparable injury, loss and damage to the infant children before [Mr. Varner] or his attorney
can be heard in opposition.” As a result, it was ordered that “any and all contact between the
Respondent, Jeffrey Varner and the minor children of the parties is prohibited, including but not
limited to face to face, telephonic, texting, email through agents or through the school.”

This evidence directly contradicts the Union’s portrayal of Mr. Varner as a man who
“made some unfortunate statements on the telephone out of frustration and later technically
violated a court order by having contact with his wife in violation of that court order.” It further
undermines Mr. Varner’s sworn testimony that his violation of the terms of his probation was a
mere “technicality,” rather than, as Mylan believed and now knows, was a result of continued
threats of death and violence by Mr. Varner; the evidence demonstrates the level of immorality

and indecency of Mr, Varner’s conduct. In support of this Motion, Mylan states as follows:
Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 4 of 24 PagelD #: 626

1. In the Union’s post-arbitration brief, it referenced information that was not in the
record and asked that this Arbitrator take arbitral notice of the same. See Union Brief, pp. 7-8.

2. While the substance of the extraneous information offered by the Union was
(literally) nothing more than an awkward, sophomoric and wholly irrelevant tu coque argument
(e.g., “[b]efore Mylan decides to pass judgment on the morality of the private lives of its
employees, it should get its own house in order”), the Union nonetheless established the
procedural precedent in this case supporting this Arbitrator’s receipt of evidence that was not
introduced during the hearing.

3. Based on this precedent created by the Union, this Arbitrator should reopen the
record, receive the legal pleadings attached hereto as Exhibits A-C, and take arbitral notice of the

same.

4, Unlike the irrelevant extraneous information offered by the Union, the evidence
hereby presented by Mylan is squarely on point with disputed issues and strongly supports
Mylan’s position that it had very good and very ample cause to discharge Mr. Varner.

5. As set forth in Mylan’s initial brief, Mr. Varner: 1) had a history of dishonesty
regarding absences from work; 2) was on the brink of termination for attendance-related issues
under a final written warning; and 3) falsified a claim for short term disability (STD) in order to
cover up his otherwise unexcused time off from his employer, while he was serving time in jail
for immoral and indecent acts.

6. Mr. Varner’s criminal behavior began on October 4, 2008 when Mr. Varner’s
wife filed a complaint against Mr. Varner for placing threatening telephone calls to her.
(Warrant for Arrest, Co. Ex. 1). Mrs. Varner recorded the calls in which Mr. Varner threatened
that he was going to “shoot her in the heart...” (Tr. pp. 31, 58). Based upon this recorded

phone call, a warrant was issued and Mr. Varner was arrested on October 27, 2008. (Warrant for

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Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 5 of 24 PagelD #: 627

Arrest, Co. Ex. 1), After a December 5, 2008 pre-trial conference, Mr. Varner was scheduled for
a February 4, 2009 criminal hearing. (Notice to Appear, Co. Ex. 7).

7. On January 31, 2009, knowing that he needed time off to attend his criminal court
hearing, Mr. Varner met with Mylan employees Ms. Kelli Neville-Smith, Senior HR
Representative, and Aleisa Petracca, Director of Employee Relations. (Tr. pp. 63, 84). In this
meeting, Mr. Varner stated that he needed to take time off on February 4, 2009 to attend a
“family court hearing regarding child custody issues.” (Tr. p. 64). At no time during his request
for leave did Mr. Varner inform Mylan that he was actually going to attend his criminal court
hearing on February 4, 2009. (Tr. p. 65). After deceiving Mylan’s HR Department about his
reasons for taking leave on February 4, 2009, Mr. Varner took a vacation day on February 4,
2009. (Tr. p. 146),

8. At Mr. Vamer’s February 4, 2009 criminal court hearing, Mr. Varner pleaded no
contest to the charge of making threatening phone calls to his wife. (Warrant for Arrest, Co. Ex.
1). After hearing the recording in which Mr. Varner told his wife he was going to “shoot her in
the heart . . .”, Magistrate Gorby, of the Magistrate Court of Harrison County, West Virginia,
sentenced Mr. Varner to thirty days in jail, suspended for one year, and unsupervised probation
with a condition that Mr. Varner have no future contact with his wife. (Warrant for Arrest, Co.
Ex. 1).

9. On March 17, 2009, after Mr. Varner repeatedly violated his unsupervised
probation by continuing to contact his wife and telling her things such as “you will not make it to
the final divorce hearing . . .,” the Assistant Prosecuting Attorney for Harrison County filed a
Motion to Revoke Probation and Impose Sentence. (Motion to Revoke, Co. Ex. 2). That very
same day, Magistrate Gorby scheduled an April 6, 2009 hearing on the Motion. (Notice to

Appear, Co. Ex. 8).
Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 6 of 24 PagelD #: 628

10. The April 6, 2009 hearing was scheduled for 3:00 p.m., when Mr. Varner was
supposed to be at work at Mylan. (Notice to Appear, Co. Ex. 8). Knowing that he could not
miss any more work because he was working under a final warning for absenteeism, Mr. Varner
filed a motion to continue the hearing. (Motion to Continue, Co. Ex. 3). In his motion, Mr.
Varner stated that he needed the hearing rescheduled because Mylan would not allow him the
time off to attend the hearing. (Motion to Continue, Co. Ex. 3). On March 30, 2009, Magistrate
Gorby denied Mr. Varner’s Motion to Continue and notified Mr. Varner of this decision. (Tr.
pp. 26, 41, 166).

11. After his motion to continue was denied, Mr. Varner learned from his criminal
defense attorney that he may be sentenced to serve time in jail. (Tr. pp. 53-4). In fear of being
fired from Mylan for absenteeism, Mr. Varner left a voicemail message for Ms. Neville-Smith
that stated he was going to contact The Hartford to request leave for his allegedly re-injured
elbow.’ (Tr. pp. 67-8). Mr. Varner later followed this up by meeting in person with Ms. Neville-
Smith. (Tr. pp. 67-8). At no point did Mr, Varner tell Ms. Neville-Smith he had a criminal
hearing scheduled on April 6, 2009 or that he may be serving jail time in April 2009. (Tr. p. 78).

12. Mr. Varner then contacted The Hartford and requested FMLA for three weeks
beginning March 31, 2009. (FMLA Denial Letter, Co. Ex. 13). This leave period would have
covered Mr. Varner’s criminal hearing and possible jail time. However, The Hartford denied
Mr. Varner’s claim for FMLA because Mr. Varner did not work enough hours in 2008 to be
eligible in 2009 for FMLA. (FMLA Denial Letter, Co. Ex. 13).

13. Now feeling the pressure of needing time off to attend his criminal hearing and to
serve his possible criminal sentence, Mr. Varner filed a claim for STD for hair restoration

surgery that he scheduled for April 7, 2009. (Tr. pp. 101-04). The Hartford approved Mr.

 

' Mr. Varner was previously on STD for his elbow in January 2009. (Tr. pp. 67).
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Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 7 of 24 PagelD #: 629

Varner’s claim for STD based on hair restoration (not an elbow injury or a hip cyst) and
preliminary approved Mr. Varner’s benefits from March 31, 2009 through April 7, 2009. (STD
Approval Letter, Co. Ex. 4). This time period allowed Mr. Varner to attend his criminal hearing
and receive pay and benefits from Mylan, while deceiving Mylan of his true reasons for missing
work.

14. At Mr. Varner’s criminal hearing on April 6, 2009, Magistrate Gorby granted the
Assistant Prosecutor’s Motion to Revoke Probation and Impose Sentence and sentenced
Mr. Varner to five days in jail. (Jail Commitment Order, Co. Ex. 9). Magistrate Gorby then
allowed Mr. Varner to pick which five days he wanted to serve the jail time. (Tr. pp. 28, 46-8).
Desiring to maintain his hair restoration surgery appointment scheduled for April 7, 2009 in
order to continue to receive his STD, Mr. Varner requested that Magistrate Gorby schedule his
first two days in jail to begin April 8, 2009. (Tr. pp. 99-100, 199).

15. Mr. Varner served his jail time — all the while out on STD for his hair plug
surgery, despite telling the Hartford one reason and Mylan at least two different reasons — and
then returned to work. Mylan then became aware of Mr. Varner’s conduct and his pattern of
deceit.

16. On May 1, 2009, after Mylan had completed a thorough investigation into the
reasons why Mr. Varner had been on STD from March 31, 2009 until April 27, 2009, Mylan
discharged Mr. Varner as a result of three violations of the Mylan Company Code of Conduct:

1, Group IV, Rule 12, Acts of dishonesty
2. Group IV, Rule 1, Falsification of any records, reports, accident or
insurance claims, medical excuses, etc.

3. Group IV, Rule 8, Immoral or indecent conduct

(Termination Letter, Co. Ex. 11).
Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 8 of 24 PagelD #: 630

17. The evidence offered by Mylan with this Motion relates to the Rule 8 violation
(Immoral or Indecent Conduct) and also directly contradicts Mr. Varner’s sworn testimony
thereby casting a shadow of doubt upon the credibility of all of Mr. Varner’s testimony in this
matter.

18. Arbitrators have consistently ruled that “[ojff-duty conduct may be subject to
Employer discipline if the Employer demonstrates a connection or nexus between the
misconduct and the Employer’s legitimate business interests.” Thyssenkrupp Budd Co., 121 LA
164, 167 (Goldberg, 2005). An Employer’s decision to discharge an employee for the
employee’s off- duty conduct is justified when the employee’s “behavior harms [the] Company’s
reputation or product...” W.E. Caldwell Co., 28 LA 434, 436-37 (Bard, 1987). Finally, an
Employer may have “just cause” to terminate an employee for off-duty conduct when the
employee has reason to know that his conduct is so obviously wrong that his Employer may
discharge him for the wrongful conduct. Westvaco Corp., 95 LA 169, 172 (Abrams, 1990).

19. During the hearing, everyone conceded that Mr. Varner’s initial conduct (that
resulted in his conviction), without varnish, were telephonic death threats. But during the
hearing, Mr, Varner testified that his first motion for contempt resulted from a mere technicality
(i.e., that he simply called, but did not threaten, his wife). He also denied making any further
threats of any kind to his wife. |

20. —_ Inits brief, the Union perpetuated this myth, arguing:

“Mr. Varner’s conduct cannot possibly be construed as “immoral
or indecent conduct” in the mind of any normal human being. He
is a man who went through a very difficult custody dispute who let
his emotions get away from him. He made some unfortunate
statements on the telephone out of frustration and later technically

violated a court order by having contact with his wife in violation
of that order.”
Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 9 of 24 PagelD #: 631

21. Since the hearing, the Court has again found Mr. Varner in contempt of that order
— again for threatening his wife — and has sentenced him to serve more time in jail. The
Company respectfully suggests a “normal human being” (to use the Union’s parlance) might

. become more skeptical of Mr. Varner’s and the Union’s “innocent, one-time, moral and decent
conduct” defense upon consideration of the recently discovered evidence submitted herewith and
described below. | |

22. The Guardian ad Litem, a third-party to this dispute, has sought and obtained an
Emergency Order prohibiting all contact of any kind between Mr. Varner and his children,
through whom Mr. Varner made more vile and unfathomable threats to his ex-wife.

23. In her sworn motion, the Guardian ad Litem confirmed that Mr. Varner “was
acting in a threatening manner including making threats against the Mother of the children, Mary
Varner and others involved with this litigation, not including the Guardian ad Litem, advising the
children of the same causing the children much distress and otherwise acting in a manner that
was contrary to the best interest of the children.” (See Exhibit A.)

24, The Guardian ad Litem further averred that she “was advised that the children are
aware of the threats and are concerned for their safety and safety of their Mother.”

25. The Guardian ad Litem investigated the matter and reviewed tape recordings of
additional conversations with Mr. Varner. Based on her investigation, she additionally
concluded and swore that “Mr. Varner has been exhibiting erratic behavior which includes... .
acting in a threatening manner” and “engaging in bizarre and threatening behavior with others
not involved in this case, but potential witnesses.” (See Exhibit A.)

26. The remainder of the conduct described by the Guardian ad Litem is not only
revolting, it proves that Mr. Varner lied about, among other things, the fact that he had made no

further threats to his wife and the fact that his first contempt finding was a mere “technicality.”

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Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 10 of 24 PagelD #: 632

27, Mr. Varner’s ex-wife, through her legal counsel, responded to the Guardian ad
Litem’s motion and confirmed that her children had informed their counselors that Mr. Varner
threatened to kill her and stated that, “she will be dead in two weeks” and “I will slice her hands
off.” (See Exhibit B.)

| 28. Carefully weighing all of this, the Court granted the Guardian ad Litem’s motion.
(See Exhibit C.)

29. Considering all of this information, a “normal human being” can only conclude
that Mr. Varner’s initial conduct (conduct which he has not in any way curbed) was immoral and
indecent. A “normal human being” can only conclude that Mr. Varner lied to this Arbitrator
under oath when he denied making any further threats to his wife. A “normal human being”
ought not accept Mr. Varner’s and the Union’s position that Mr. Varner’s sole transgression
consisted of a minor, emotion-driven faux pas. A “normal human being” ought not accept Mr.
Varner’s several, conflicting versions of the truth and, as he would have us believe, string of
coincidences leading up to his taking STD leave for goodness knows what condition while he
was in jail.

30. Although the Union rather flippantly suggests Mylan employs an in-house
“Ayatollah,” it does not take a high-ranking religious leader to perceive Mr. Varner’s character
or the direct and justifiable nexus between his persistent indecency and his termination. Mylan
viewed the evidence it gathered through the appropriate lens and properly determined that Mr.
Varner had been utterly dishonest regarding the reasons for this leave of absence, that he
deceived both Mylan and the Hartford with respect to the elbow-cyst-hair problem(s) allegedly
necessitating his leave, that he was dishonest with Mylan during its investigation, and that his ;

conduct was (and continues to be) both immoral and indecent.
Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 11 of 24 PagelD #: 633

31. | Mylan’s decision was sound and supported by just cause. The grievance should
be denied,

WHEREFORE, for the reasons set forth above and for such other and further reasons as
may be apparent to the Arbitrator, Mylan Pharmaceuticals, Inc. respectfully moves this
Arbitrator to Reopen the Record in this matter and accept and take arbitral notice of the evidence
relating to recent and relevant misconduct by the grievant Jeffrey Varner (“Mr. Varner”). And

Mylan again requests that the instant grievance be denied in all respects.

MYLAN PHARMACEUTICALS, INC.

    

 

 

Kevin L. Cart (
Patrick R. Barry

Spilman Thomas & Battle, PLLC
300 Kanawha Boulevard, East
Charleston, West Virginia 25301
304.340.3800

State Bar # 6872)
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Nov. 9. 20092 3:40 PMe_or Family Court Div. 4 Judge Reep 5 14:1°-18 2009 MsINo. 0994 oF P. |

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IN THE FAMILY COURT OF HARRISON COUNTY, WEST VIRGINIA

IN RE THE MARRIAGE OF MARY VARNER. AND JEFFREY VARNER
CIVIL ACTION NO: 68 -D-27/

MOTION OF THE GUARDIAN AD LITEM FOR. EXPARTE EMERGENCY RELIEF
Comes now the Guardian ad Litem for the minor children and moves this Court for ex

parte emergency relief as follows:

1. The Guardian ad Litem had reviewed tape recordings of conversations with the minor
children earlier in her investigations which showed clear manipulation of the children and .
attempts to alienate the children against their Mother, Mary Vanier;

2. That the Guardian ad Litem met with the Mr. Vamer, the Pather of the minor childten,
and spoke with him regarding the inappropriateness of these telephone calls and his _
relationship with the children;

| 3. That the Father, Jeffrey Varner, acknowledged the inappropriateness of his actions and,
agreed to cease and desist any further attempts to alienate the children from Mary Varner;

4. That the Guardian ad Litem suggested that should he have any confusion about what is

” Inappropnate, he should communicate with the Guardian ad Litem or the Counselor for
the children;

5. That the Guardian ad Litem was advised that the telephone conmumications between Mr.
‘Vamer and the children were much improved:

6, That earlier this week, the Guardian ad Litem received information that the Father of the
minor children, Jeffrey Varner, was acting in a threatening roanner including making
threats against the Mother of the children, Mary ‘Varner and others involved with this

 
Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 13 of 24 PagelD #: 635

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litigation, not including the Guardian. ad Lites, advising the children of the same causing
the children much distress and otherwise acting in a manner that was contrary to the best
interest of the children;

7, That the Guardian ad Litena was advised that the children are aware of the threafs and are
concemed for their safety and saftty of their Mother;

8. That the Guardian ad Litem then ieviewed and investigated through independent parties
not involved with the litigation and tape recordings of the telephonic communications
between the children and Mr. Vamer the allegations she had received:

9. That based upon this investigation, Mr. Vamer has been exhibiting erratic behavior which
includes constant inappropriats statements to the children that clearly is intended to
alienate the children froma their Mother and acting in a threatening manner;

10. That further investigation has revealed that Mr. Vamer has been engaging in bizarre and
threatening behavior with others not involved in this case, but potential witnesses;

11, That the Guardian ad Litem was forced to leave town, prior to concluding her
investigation on the allegations, but based upon the impartial evidence reviewed by the
Guardian without reliance on, the information from the Mother, Mary Varner, the
Guardian requests that ALL contact between the minor childcen and Mr. Vamer cease
immediately pending the hearing scheduled before this Court in two weeks;

12. That the phone contact between Mr. Vamer and the children is clearly harmful to the
children and contrary to their best interest; |

- 13. Mr. Varner is placing the children in an inappropriate position by actvising the children
that they need to ignore their Mother, tell their Mother to shut up, he is the boss not her,

as well as statements about lacking her on, her ass and breaking things in the home;
Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 14 of 24 PagelD #: 636

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_14. These statements are constant during the communications with the children;

15, Although the Guardian has not substantiated a death threat on Ms. Vamner, as was
reported to the Guardian, her investigation is not yet complete. However, definite
support for behavior that is clealy contrary to the best interest of the children has been
supported;

16. A further neutral witness who has been present when Mr. Vamer was berating the
children in an inappropriate manner, is scared ag a result of any further assistance with
the Guardian ad Litern, believing that Mr. Varner will “get even” and reported fear for

. her physical safety;

17. That the Guardian ad Litem will complete her investigation and report to the Court any
update that is available, but at this time, the Guardian believes it is absolutely necessary
that all. contact with Mr. Vamer cease until her investigation into these issues is complete
in order to protect the children until the hearing scheduled in this matter.

_ 18, That based upon neutral witnesses and the ongoing communications between the Father
and the minor children, it is fhe Guardians concern that harm, will come to the children if
continued contact between the Father and the minor children is permitted prior to the
hearing and the Guardian ad Litem completing her investigation:

19. That the Father has exhibited a desive to manipulate the children, which could cause
irreparable haun based. upon the severity of the allegations and the information obtained
by the Guardian ad Litem;

20. That the Guardian ad Litem is concerned that if the Father is given notice of this motion,
he will take actions that will cause irreparable harm to the children;
Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 15 of 24 PagelD #: 637
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Wherefore, the Guardian ad Litem respectinlly requests that this Court enter an ex parte
emergency order immediately suspending all contact between the Father, Jefixey Varner
and the minor children, that he be prohibited from making any attempts to contact the
children through agents, school or any other source until the guardian can compete her
investigation and for such further specific and peneral relief as this Court deems esta in

the premises.

Keon

ya Masog Wii Hsq. on behalf off
SHANNON THOMAS, ESQUIRE

139 MAIN AVENUE

WESTON, WV 26452

304-269-0370
GUARDIAN AD LITEM FOR THE MINOR CHILDREN

 
 

Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 16 of 24 PagelD #: 638
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VERIFICATION

STATE OF WEST VIRGINIA, , ,
COUNTY OF UPSHUR, TO WIT:

I, Daya Masada Wright, on behalf of Shannon R. Thomas, the Guardian ad Lites herein,
who being first duly sworn, says that the facts and allegations contained in fhe Motion ate true,
except so far as they are therein stated to be upon, information, and that so far as they are therein.
stated to be upon information, she believes them to be tue.

QS.

- Daya. Masa ‘rigtit, om\bebalf of Shannon R. Thomas be sovessseuaeses vitamtt bslbee sa creegen eee venice eure oe catese

Taken, subscribed to and swom before me on this (G0 day of November , 2009.

My commission expires: | YVIUA wo DOV

  

Notary Public

 

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SOT Ta.,
Ed

 

 

 
Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 17 of 24 PagelD #: 639

IN THE FAMILY COURT OF HARRISON COUNTY, WEST VIRGINIA

In Re the Marriage of:
MARY VARNER,

Petitioner,
and CIVIL ACTION NO. 08-D-291-4
JEFFREY D. VARNER,

Respondent.

PETITIONER'S RESPONSE TO THE GUARDIAN AD LITEM’S EX PARTE MOTION
AND COUNTER- PETITION FOR CONTEMPT AND FOR SANCTIONS

Comes now petitioner, Mary Varner, by and through counsel, Debra V. Chafin, and for
her response to the Guardian ad Litem’s Motion for Ex Parte Emergency Relief respectfully
asserts the following:

1. Petitioner admits the allegations in paragraphs 1 through 20 of the Ex Parte Motion for
Emergency Relief in that although the motion refers to specific occurrences and
conversations between the Guardian ad Litem and third parties the petitioner has no
direct knowledge of, but the events, behaviors, conversations and concerns expressed —
therein are consistent with the types of threats and communications petitioner has
received throughout the course of this litigation. The children have expressed through
counselors that their father has threatened to kill their mother and have used descriptive
remarks that could only be attributable to respondent such as, “she will be dead in two
weeks” and “TI will slice her hands off.” The respondent's former threats to petitioner,
some of which are part of the Court’s file, to “drag this out”, “bury you in debt”, that the
petitioner would “never be divorced, you won’t live that long” and “this will not be

over,” have come to pass as has been recently evidenced by respondent’s filing of an

 
Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 18 of 24 PagelD #: 640

appeal of the Divorce Decree that was entered, the respondent’s non-payment of over

$40,000.00 due and owing to the petitioner by prior Orders of this Honorable Court,

respondent’s repeated violations of the Court’s Temporary Emergency Protective Order
as well as his probation revocation concerning his repeated contact with petitioner despite
the criminal charges placed against him for doing so, verifies that respondent’s past
threats have come to pass and there is cause for great concern, This Honorable Court
issued a permanent restraining order on October 2, 2009, wherein the respondent is

" basred from “...harassing, stalking, threatening or otherwise intimidating the petitioner or
the minor children....”. The events as set forth in the Guardian ad Litem’s motion,
together with recent revelations by the minor children, deem that the respondent is in
direct violation of that Order.

WHEREFORE, the petitioner respectfully prays that the Ex Parte Order entered on
November 6, 2009, remain in full force and effect until the respondent can submit to a full
psychological evaluation, for attorney fees and costs to prosecute this matter and for any other
relief this Court may deem just and appropriate.

COUNTER-PETITION FOR CONTEMPT
1. By Order entered June 8, 2009, the Court ordered as follows:

“Neither party shall make disparaging remarks about the other party...”

‘2, Despite the numerous times that respondent has been warned, he continues to make
disparaging comments about the petitioner to the minor children and has increased the
seriousness of the comments by telling the minor children that he is going to kill their
mother and others who have “kept” [the children] from him.

3. This Honorable Court found at the April 14, 2009, hearing that the respondent was in
Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 19 of 24 PagelD #: 641

contempt regarding disparaging remarks about the Petitioner to the minor children and
despite warnings and findings of contempt before this Honorable Court, the respondent
has failed to cease from making inappropriate remarks and threats concerning the
petitioner.

4, It is apparent that despite a criminal case wherein the respondent pleaded no contest, has
had his probation revoked two times for violating terms of his probation by harassing and
communicating with the petitioner directly as well as through the minor children, the
respondent has refused to comply with this Court’s orders and directives. There has
been no piece of paper entered into the Court file that has prevented the respondent from
continuing his threats to petitioner and only harsh sanctions such as a jail term will stop
such behaviors.

5. Respondent’s willful and contumacious failure to follow the Order has created disruption
in the lives of the petitioner and the minor children, and has created intense fear in all
parties involved. The respondent has enlisted his oldest minor child, Thomas, in
harming the petitioner by giving the child a bottle of orange liquid with specific
instructions to the minor child to “...put it-in her gas tank on a day that is cold....” so that
the petitioner’s car would be disabled. The respondent instructed the children on
October 30, 2009, to call their mother and tell her that they hated her and that they didn’t
want to come home and that the weekends were not enough time with dad. The middle
child, Savannah, did as instructed by her father and confided later to her mother that her
father had instructed her to make that call. The oldest minor child, Thomas, refused to
‘say those things to his mother and the respondent berated the child and was mad at the

child the bulk of the weekend. The respondent admonished the two oldest minor
Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 20 of 24 PagelD #: 642

children because they did not do the things that he requested and called them “imps”

because they would not agree to be mean to their mother. The respondent took time to

show the minor children on that October weekend a page on his computer that had
- pictures of automatic weapons and told the children that he had one and it was stored at a
location “about 5 minutes” from his house.

6. Respondent has continued to refuse to have a forensic psychological evaluation
performed and should therefore be held in contempt and be ordered to submit
immediately to same or face civil and criminal sanctions by this Honorable Court.
WHEREFORE, the Petitioner, Mary Varner, prays that the Order entered on June 8,

2009, be enforced by this Honorable Court.

The Petitioner, Mary Varner, further prays that this Court issue a rule to show cause as to
why the Respondent should not be found in contempt of this Court and incarcerated in the
County Jail until a full forensic psychological evaluation can be performed on the respondent.

Further, the Petitioner, Mary Varner, prays that she be reimbursed for her attorney's fees
incurred in the prosecution of this matter, and for such other relief as the Court deems proper in
the premises.

Mary Varner,

Petitioner,
By counsel,

: ‘ *
Debra V. Chafin ;

Counsel for Petitioner
314 S. Second Street
Clarksburg, WV 26301
(304)622-0402

WV Bar No, 5854
Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 21 of 24 PagelD #: 643

VERIFICATION

 

STATE OF WEST VIRGINIA,

COUNTY OF HARRISON, TO-WIT:

Mary Varner, the petitioner named in the foregoing Petitioners Response To The
Guardian Ad Litem’s Ex Parte Motion And Counter-Petition For Contempt And For
Sanctions, being duly sworn, says that the facts and allegations therein contained are true, except
so far as they are therein stated to be on information, and that, so far as they are therein stated to
be on information, she believes them to be true.

eey, te Nena,
Mary Varner

th
Taken, subscribed and sworn to before me this } é > day of November, 2009.

' My Commission Expires: Cats o24 ol 4, 2.019 .
() ~

 

AMANDA GOODNIGHT
(aS Bow 134 Priiggs, BV 2U16
Wy Dominion Expires Octcber 27, 2019

 

 
Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 22 of 24 PagelD #: 644

CERTIFICATE OF SERVICE
I, Debra V. Chafin, do hereby certify that on the Wray of November, 2009, served the

foregoing Petitioner’s Response To The Guardian Ad Litem’s Ex Parte Motion And
Counter-Petition For Contempt And For Sanctions upon counsel for respondent, Chad Noel at
Post Office Box 822, Morgantown, WV, 26507-0822, and upon Shannon Thomas, Guardian ad

Litem, via facsimile to 304-269-0371,

pha hed:

Debra V. Chafin / ~
Counsel for Petitioner
Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 23 of 24 PagelD #: 645
ov. 9. 20094 3:41PMof Family Court Div. 4 Judge Reep 5 14:7 +8 2009 msTNo. 0994 of P. 6

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IN THE PAMILY COURT OF HARRISON COUNTY, WEST VIRGINIA

IN RE THE MARRIAGE OF MARY VARNER AND JEFFREY VARNER.
CIVIL ACTION NO.:;, O8-D-2 41

EX PARTE ORDER
On this day came the Guardian. ad Litem, Shannon Thomas, who moved for ex parte

relief prohibiting any contact between Jeffrey Varner, the Father, and the minor children of the

parties.

The Family Court Judge finds that there is probable cause that the existing conditions will
result in inmuediate and irreparable injury, loss and damage to the infant children before the -

Respondent or his attormey can be heard in opposition.

Upon consideration of which i itis adjudged and ordered that aay and all contact between.
the Respondent, Jeffrey Varner and the minor children of the parties is prohibited, incliding but
not limited to face to face, telephonic, texting, email, through agents or through the school.

It is further ordered that full and complete heating be held upon Guardian's motion and
this order on the lb 74 say of Nevemh&e, 2009, at_4.7 530 gm.

Ttis further ordered that service of a copy of this order, the Motion for Ex parte Relief
counsel POR EL FAR
and the Petition. for Modification. upon/Mary Varner and upon Jeffrey Vamer shall constitute

CA

sufficient notice of the scope and requirements hereof and the Clerk shall send a cextified copy of fe Z
THEIR RESPECTIVE A-77PRMEYE

this order andthe Motion for Ex Parte Relicf to SA Dersnguationmnpay

The Sheriff's Department shall assist in the enforcement of this order.

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Case 1:10-cv-00026-IMK Document 24-11 Filed 11/22/10 Page 24 of 24 PagelD #: 646
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The Clerk shall send a copy of this order to Shannon R. Thomas, Esquire, P.O. Box 489,

Weston, West Virginia 26452 and Comsel of Record, fAb-Honers counsel, Debra V Chali my

BIAS Seend Sh, Clarksourg,WY € Respondents Couns, w. Ched. Nee],
F20. Bot. S22. Morganton) WY 2607_OSAR-

ENTER: November, 2009 at__ 2:as pom

FAMILY COURT JUDGE
